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               Residents say landlord
               disinvestment is making a bad
               situation worse at a Langley Park
               apartment complex
               HOUSING OPINION By Carolyn Gallaher (Contributor) February 17, 2021  17




                Tenants at Bedford and Victoria Station apartments protesting over conditions in
                  the apartment building. Image by Trent Leon-Lierman used with permission.


               The Bedford and Victoria Station Apartment complex in Langley Park,
               Maryland is a microcosm of immigrant neighborhoods across the region.

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               Like tenants in Chirilagua, Culmore, Manassas Park, and Montgomery
               Village, tenants at Bedford and Victoria Station apartments say they are
               confronting a trifecta of challenges: a global pandemic, severe
               unemployment, and landlord neglect.

               The first challenge is an act of nature. The second is a direct consequence of
               the first. But the third? It didn’t have to happen. It’s a choice.




                  An image of a ceiling in the complex with water damage. Image by Lidia Rivas
                                               used with permission.


               Bedford and Victoria Station Apartments—Langley Park in a
               nutshell

               The majority of residents in Langley Park — 61.4% — are foreign born. The
               same is true in Bedford Station. Lidia Rivas, a tenant organizer at CASA, a
               non-profit that advocates for low-income immigrant communities, told me
               that almost all of the complex’s units are rented by families from
               Guatemala and El Salvador. Rivas also told me that some residents come
               from difficult backgrounds.
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               “They come from rural areas where some didn’t go to school. Some can’t
               read,” Rivas said, adding that a good portion of the Guatemalan residents
               are Mam, an historically marginalized indigenous group in Guatemala, and
               a few of them can only speak Mam.

               Like the wider neighborhood, many of Bedford and Victoria Station’s
               tenants are undocumented. “They are timid,” Rivas said, adding that
               residents are afraid to ask for repairs, even when the problems in their
               units are intolerable because they don’t want to make waves or draw
               attention to themselves.

               Rivas said she believes the complex’s management company knows this
               and responds in kind. “If a person comes in looking timid or speaks a
               dialect (Mam), then they try to humiliate them and blow them off.”

               Like their neighbors, many Bedford and Victoria Station tenants also lost
               jobs or saw their hours reduced during the pandemic. Karen Agustin
               Barahona, who is originally from Guatemala and who’s been a tenant for
               two years, told me in a recent interview, “I haven’t been working since the
               pandemic, and if it wasn’t for food stamps, I wouldn’t be eating either.”

               The pandemic has also ravaged Langley Park, and Bedford and Victoria
               Station apartments are no different. Many tenants have contracted COVID-
               19. Few have health care, and some are afraid to go to the hospital for fear
               they will be deported.

               In the midst of this maelstrom, Bedford and Victoria Station’s tenants have
               also had to contend with what they say is large-scale disinvestment.




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                  Trash is overflowing at the Bedford and Victoria Station Apartments. Image by
                                        Lidia Rivas used with permission.


               Disinvestment—what is it and what does it look like?




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               In general terms, disinvestment means withdrawing money from
               something. At the neighborhood level, a variety of actors can engage in
               disinvestment, including municipal governments, business owners,
               developers, and landlords. Often these actors disinvest in rough unison so
               that it is difficult to flesh out causal arrows. (Did the grocery store pull out
               of the neighborhood because the area’s landlords stopped leasing units to
               middle income renters or vice versa?). In the aggregate, however, they
               mutually reinforce one another.

               When landlords engage in disinvestment at the building level it means they
               stop putting money into the property. What this looks like on the ground
               depends on the scale of disinvestment. If we think of disinvestment as
               happening along a parameter, we can look at small, medium, and large
               scale examples of it.

               Small-scale disinvestment usually means a landlord only makes
               improvements necessary to keep a property in compliance with housing
               codes. A property subject to minor disinvestment might look a little shabby
               (peeling paint, outdated appliances), but it is safe.

               When landlords engage in medium-scale disinvestment, they often put off
               important repairs, patching an old roof rather than replacing it, or painting
               over a mold contamination instead of remediating it. Initially, this sort of
               disinvestment doesn’t look much different than small scale disinvestment,
               but over time, a building will deteriorate.

               Large scale disinvestment happens when landlords stop making vital
               repairs. They don’t treat vermin infestations, fix leaks, patch holes in
               ceilings and walls (usually caused by leaks), clean up sewage backups, or
               repair deteriorating joists. Living in buildings that have been subject to
               major disinvestment is bad for your health and often dangerous.

               Disinvestment can be a response to economic woes, but just as often, it’s a
               strategy. That is, a landlord can afford to make basic repairs, or even invest
               new money in a property but chooses not to.



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               One strategy, common to real estate investors, is called milking. Milkers
               usually purchase inexpensive properties and maximize profits by cutting
               back on maintenance. Milking is often a short term strategy. Milkers tend
               to sell or abandon a property after they’ve squeezed what profit they can get
               out of it.

               Another strategy is to disinvest in a building to force tenants out. Why
               would a landlord who owns a rental property want to get rid of tenants? In
               places with rent control, landlords often want long-time tenants to leave
               because they can raise the rent at a higher rate on an empty unit than one
               with a continuing lease.

               In DC, landlords who want to sell their properties often try to empty their
               buildings in order to circumvent the District’s Tenant Opportunity to
               Purchase Act, (TOPA), which allows tenants’ associations in multi-family
               housing the right to refuse a contracted sale and to purchase the property
               instead. Landlords with empty buildings are exempt from TOPA. Landlords
               may also want to empty a building so they can tear it down and build a new
               one. Depending on the jurisdiction, existing tenants may be entitled to
               financial compensation.

               Although landlords try to empty buildings in lean times too, the incentive
               to do so tends to increase in gentrifying areas. A landlord is more likely to
               try to empty a building in preparation for a sale, for example, if there are a
               cadre of interested buyers.

               Strategic disinvestment at Bedford and Victoria Station
               Apartments

               According to Rivas, the landlord at Bedford and Victoria Station
               apartments has been forgoing repairs “for a long time.” Rivas doesn’t know
               for certain why they aren’t fixing things, but given the scale of problems,
               she said the decision feels intentional.

               One reason might be the ownership structure of the buildings. Bedford and
               Victoria Station Apartments aren’t owned by a traditional landlord. In fact,
               the tenants aren’t sure exactly who owns the property. A story in the
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               Washington Post identifies the complex’s owner as Arbor Management
               Acquisition Company, a real estate investment firm. However,
               Koordinates.com, a geospatial data platform that allows users to search
               property parcels by county lists Bedford United LLC as the owner. The
               Maryland Department of Assessment and Taxation’s real property database
               does as well. Whoever the owner is, it isn’t a person. It’s a nameless
               company run by a management company (Ross Management). The lack
               clarity in this kind of ownership structure is often the point. It shields
               owners from risk (and individual responsibility). It also makes it difficult
               for tenants to hold their landlord to account.

               To be fair, not every eal estate investment firm or LLC is a bad landlord.
               However, the financialization of multi-family housing—a process that
               began in the aughts and treats housing as a commodity rather than a
               common good—definitely creates incentives to cut corners. If the primary
               goal is to ensure a guaranteed rate of return (e.g. milking), or drive tenants
               out, then holding off on repairs may be the easiest way to get there.
               Academic research confirms this. When properties are incorporated (e.g.
               owned by LLCs or similar entities), “they experience more rapid
               deterioration.”

               Tenants in Bedford and Victoria Station also worry that their landlord
               might want to push them out of the building in anticipation of the purple
               line, which is slated to have a station at the intersection of University and
               New Hampshire, just a few blocks from Bedford and Victoria Station.
               Tenants have heard rumors that the area will become more attractive to
               higher income residents once the line is open, and the landlord will raise
               rents as a result. Tenants worry the landlord is biding their time, holding
               off on repairs until they can attract higher income tenants. Evidence
               suggests this is a valid worry. Rents tend to be higher near metro stations,
               especially those inside the Beltway, although COVID-19 has dampened the
               effect somewhat.

               I reached out to both Arbor Management Acquisitions and Ross
               Management for comment, but neither immediately responded to my
               requests.


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               Meanwhile, when I talked to Rivas, she ticked off a laundry list of
               complaints both inside units and around the property. Everyone complains
               about vermin she said—“cockroaches, moles, mice, rats.” Especially the
               rats. Rivas said the rats have gotten worse because the trash collectors
               don’t come as frequently as they used to, leaving trash to pile outside the
               dumpsters, where it can sit for days.

               Tenants also complained about plumbing. Karen Agustin Barahona, a
               resident at the apartments for two years, told me she had to call a plumber
               to unclog her bathtub because no one in the management office responded
               to her maintenance request. “I couldn’t wait,” she said, “we have to use the
               shower.” Even when the company does repair plumbing, it often doesn’t fix
               the holes in ceilings and walls caused by leaks. Rivas explained that tenants
               “use cardboard to cover the holes and keep the bugs out.”

               Agustin Barahona also told me she has a chronic leak around her window
               frame that the management company refuses to fix. She was told there
               wasn’t money in the budget to fix windows. Not surprisingly, she also has a
               mold problem. “My beds are full of mold,” Agustin Barahona said.

               When Agustin Barahona explained to the management company that she
               needed the problem fixed because her daughter has asthma, they asked for
               documentation from a doctor. Agustin Barahona, who is unemployed and
               doesn’t have health care, can’t afford to take her daughter to the doctor.

               Other tenants complained that the radiators in their units didn’t work in
               the winter, so all they got was ambient heat from neighboring apartments.
               Others had the opposite problem. Their AC units didn’t work in the
               summer.

               The United States was supposed to be a safer place for Agustin Barahona
               and her kids, but she told me: “With all these problems and the way I live
               here, it would be better in my country.”

               As safety concerns increase, so does the rent



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               Perhaps most galling, though, is that the rent keeps going up. The typical
               price for a 1-bedroom unit at Bedford and Victoria Station is between
               $1,300 and $1,500, but Rivas tells me some units have reached $1,800.
               That range hovers around the median rent for Prince George’s County.

               According to rent café, a renter needs a gross annual income of $63,000 to
               comfortably afford a monthly rent of $1,500. The median income for
               Langley Park is just $19,634, so most tenants can’t live alone or even in a
               nuclear family. Before the pandemic, many families made it work by
               renting out rooms in their apartments or living with extended family. As
               job losses mounted, that strategy has failed.

               Bedford and Victoria Stations are not subject to rent control, so the only
               protections tenants have are related to the pandemic. Emergency
               legislation by the Prince George’s County Council banned rent increases for
               tenants negatively affected by the pandemic, and limited rent increases for
               others to not more than 2.6%. These are important safeguards, but
               insufficient to the scope of need. In fact, the county’s rental assistance
               program was halted because of an “overwhelming response.”

               Landlord disinvestment is nothing new. Indeed, we have housing codes and
               regulations precisely because this sort of abusive behavior isn’t new. But
               faced with badly needed repairs and few options, what do tenants do?

               Stay tuned for Part II of the article where residents make a big and risky
               choice to combat disinvestment.

               Correction: Arbor Management Acquisition Company was incorrectly
               identified as part of a real estate investment trust (or REIT) in an earlier
               version of this article. The piece has been updated to reflect that change,
               and offer more context around the ownership of the Bedford and Victoria
               Station apartments.


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                                 movement in the US and Loyalist paramilitaries in Northern Ireland.
                                 She lives in Silver Spring with her husband and son.




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